                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:
                                                              Case No. 10-66998
         CHRISTINA BRADDY,                                    Chapter 7
                                                              Hon. Walter Shapero
                  Debtor,
______________________________/

         FLOYD GILL, JR.,

                       Plaintiff,

v.                                                            Adversary No. 10-07372

         CHRISTINA BRADDY,

                  Defendant.
______________________________/


         OPINION DENYING PLAINTIFF’S NONDISCHARGEABILITY ACTION

                                             Introduction

         A plaintiff acting in pro per commenced this proceeding against a defendant debtor who is

his daughter. The proceeding is essentially an 11 U.S.C. § 523(a)(2)(A) nondischargibility case,

though the plaintiff also noted in the accompanying cover sheet and his cursory complaint that he

also invokes § 523(a)(4), as well as a request to have the subject real property deeded to him and/or

return of certain monies he alleges that he gave the defendant pursuant to an agreement to purchase

that property.

                                             Background

         The husband of the debtor, Christina Braddy (“Defendant”), acquired real property located

at 1315 Liebold in Detroit (“Property”) sometime around 2004, and prior to their marriage in

February 2005. As the Property was vacant around that time, he prevailed upon Defendant’s sister



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to move into the Property, so that it would be occupied and not be subject to vandalism and the like.

Defendant and her husband, after their marriage, were living elsewhere. Defendant’s father, Floyd

Gill, Jr. (“Plaintiff”), and his wife (the mother of Defendant) apparently were having marital

problems that culminated in the filing of a divorce action sometime toward the end of 2009. In 2006

or so, Defendant’s husband, the apparent owner of the Property, was incarcerated and is still in

prison. In early July 2008, Defendant’s financial situation apparently was such that she and Plaintiff

discussed the possibility of Plaintiff purchasing the Property.

       Plaintiff alleges that those discussions, which he admits he initiated, culminated in an oral

agreement for him to purchase the Property for some $15,000 or so. Plaintiff further alleges that,

in pursuance of that agreement, he caused his wife to fill out a personal check drawn on Plaintiff’s

bank account, payable to Defendant for $9,000. Plaintiff then signed and gave to his wife, who

thereafter gave it to Defendant. A $9,000 check payable to Defendant, endorsed by her, and dated

July 28, 2008, is in evidence. Plaintiff testified that incident to the arrangement he then paid

delinquent real estate taxes amounting to approximately $5,214 and also gave Defendant some $700

and other monies in cash, all of which was to constitute part of the consideration to be paid for the

acquisition of the Property. Plaintiff alleges that Defendant in turn agreed to turn over to him a deed

to the Property, and represented that she had power of attorney from her then incarcerated husband

enabling her to execute such a deed. There is also Plaintiff’s testimony that after delivery of that

check, Defendant’s sister, who was still occupying the Property, paid rent to Plaintiff in a monthly

amount approximated $500 for some period of time.

       Having not been able to obtain the deed, Plaintiff filed suit against Defendant in the

36th District Court of Wayne County on November 25, 2009 (Case No. 09-135-001). Plaintiff


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alleged in that action that he paid Defendant some $15,200 for the Property, and that Defendant

subsequently refused to sign the house over to him. That case never went to judgment, in part

because of Defendant’s bankruptcy filing on August 28, 2010.

        Defendant and particularly her mother (Plaintiff’s former spouse) tell quite a different story.

They both acknowledge that there indeed was some discussion about selling the Property to Plaintiff,

and that at some point late in 2008 Plaintiff tendered to Defendant some cash in an envelope as an

initial payment for the Property. They say, however, that Defendant returned that cash to Plaintiff

saying that Defendant’s husband refused to sell the Property, and in the process thus making it clear

that Defendant really did not have the power of attorney that Defendant said she had. Their

explanation for the $9,000 check essentially is that it was not related to any agreement or discussion

about the sale of the Property to Plaintiff. Rather they (primarily Defendant’s mother) testified that

(1) when Defendant’s husband went to prison, he took some $19,000 from a 401(k) deferred

compensation account or similar, and gave her mother the cash proceeds (then unbeknownst to

Defendant) to be doled out by the mother to help meet Defendant’s needs during the period when

he was in prison; (2) she put the cash in a safe to which both she and Plaintiff had access; (3) that

cash was not accessed, at least as far as she knew or by her, for a year or so, but roughly a year later,

Plaintiff, who she says had a gambling problem, confessed to her that he had taken some $10,000

or so from the safe and lost it gambling; and (4) heated discussions ensued and the referred to $9,000

payment by Plaintiff was for the purpose of replenishment of the cash taken by him and gambled

away, and was not related to purchase of the Property.




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                                             Discussion

       What we have here initially is diametrically opposed testimony on key facts and accordingly

the necessity of also looking at other evidence which does or does not reinforce or corroborate one

side’s version or the other’s. All of this of course also arises in the context of a divorce proceeding

between Defendant’s mother and Plaintiff and resulting estrangements.

       It is important to note that this case must be seen and decided in the context of being

primarily a § 532(a)(2)(A) non-dischargeability action involving a claimed prepetition debt (the

amounts Plaintiff alleges he paid Defendant for purchase of the Property). Section 523(a)(4)

obviously does not apply as Plaintiff does not argue for or allege the existence of an express or

technical trust or any facts which could be considered amounting to embezzlement or larceny. See

Patel v. Shamrock Floorcovering Servs., (In re Patel), 565 F.3d 963, 968 (6th Cir. 2009). Further,

this Court does not have the authority to require the Property to be deeded by Defendant to Plaintiff -

both as a matter of lacking jurisdiction to do so, but more importantly because it is quite clear that

Plaintiff did not obtain a binding agreement from Defendant’s husband who owns the Property.

Hence, Plaintiff can only be successful (and then only as to a sum of money) if he bears the burden

of proof under § 523(a)(2)(A) that (1) he had a binding agreement from Defendant to sell him the

Property; (2) she made representations incident to making that agreement; (3) at the time of the

representations, Defendant knew such to be false; (4) Defendant made the representations with the

intent and purpose of deceiving the Plaintff; (5) Plaintiff justifiably relied on the representations;

and (6) Plaintiff sustained a loss as a result of the representations having been made. See Nehasil

v. Grenier (In re Grenier), 430 B.R. 446, 452 (E.D. Mich. 2010) (citing Rembert v. AT&T Universal

Card Servs., 141 F.3d 277, 280-81 (6th Cir. 1998) (citation and footnote omitted).


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         Plaintiff, in pro per, appears to be under the impression that he can attain in this proceeding

some sort of judgment or order requiring Defendant to deed the Property to him in a way that will

give him good title to it. That result, of course, is simply not legally available in this proceeding,

if for no other reason than (1) the evidence is that the Property was acquired by Defendant's

incarcerated husband prior to his marriage to Defendant; and (2) he is thus an owner (in addition to

whatever interest in it that Defendant may have) and not a party to this proceeding, and therefore

cannot be forced by this Court in this proceeding to convey the Property to Plaintiff. Some sort of

order requiring Defendant to convey whatever interest she might have will not come close to giving

Plaintiff what he argues he bargained for and is entitled to, i.e., title to and ownership of, the

Property. And even if Defendant's husband was in fact actually a party to this case or was made

such, there remains the serious question of whether this Court would even have jurisdiction

to entertain what is essentially an equitable specific performance action in a bankruptcy case where

a successful result has little or nothing to do with, or the necessary relation to, the purposes of the

bankruptcy case itself. The absolute best that Plaintiff can attain here, therefore, is a ruling that

Defendant owes a debt to Plaintiff arising out of the facts, and, that such debt is not discharged in

the bankruptcy and thus notwithstanding the bankruptcy he will retain the ability to try and collect

the amount of that debt from Defendant via whatever means available to him in the appropriate

court.

         As to the question of the existence of a debt for argument’s sake (and giving full credence

to Plaintiff’s version of the facts), it is not enough that a contract may have been made by Defendant

to convey good title to the Property to Plaintiff and that Defendant has failed to fulfill that

agreement. If the ultimate disposition of this case turned on whether or not there was even an


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enforceable “debt,” it should be noted that there is a factual issue as to the amount of the agreed

consideration (and thus whether there was ever a true meeting of the minds) and there is a Statute

of Frauds (i.e., the legal necessity of an adequate writing in connection with the sale of real property)

issue given the lack of any writing whatsoever evidencing the agreement (except the referred to

check and other claimed payment performance acts), and whether or not such might constitute

sufficient part performance to provide an exception to the legally mandated writing requirement.

This latter would be a potential issue in light of cases such as Thorbahn v. Walker’s Estate,

257 N.W. 892, 893 (Mich. 1934), where the court stated, “Part payment of the purchase price will

not alone take the case out of the statute of frauds.” Those issues need not be decided here,

however, because the Court is disposing of the case on other grounds.

        Courts have said many times that a mere breach of contract claim does not in and of itself

give rise to nondischargeability under § 523(a)(2)(A). See e.g., Cloyd v. GRP Records (In re

Cloyd), 238 B.R. 328, 336 (Bankr. E.D. Mich. 1999) ("[A] mere breach of contract is not a

dischargeable debt."). There must be more. In the context of the facts of this case, and as noted for

purposes of analysis accepting Plaintiff's version of the events, that means that the Court must

additionally find that (1) when Defendant made the agreement she never intended to fulfill it in the

first place; (2) the key representation involved, i.e., that she had a power of attorney from her

husband which enabled her to make the agreement and to convey title to the Property, was made

with the intent to deceive Plaintiff or was a false pretense, and she knew at the time she neither had

a power of attorney or could not obtain her husband's consent to convey the Property; and (3) it was

thus all essentially a ruse to obtain the money that he paid her. See Smith v. Crowley (In re

Crowley), No. 09-05292, slip op. at 6 (Bankr. E.D. Mich. 2010) (this Court) (“It is hornbook §


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523(a)(2)(A) bankruptcy law that the alleged violative conduct must have taken place or exist at the

inception of the debt[.]”) (citation omitted); Skyles v. Stinson (In re Stinson), 364 B.R. 269, 276

(Bankr. W.D.K.Y. 2007). See generally Rembert, 141 F.3d at 280-81 (identifying elements of a §

523(a)(2)(A) action).

        Plaintiff has the burden of proving all elements of his case by a preponderance of the

evidence. See Grogan v. Garner, 498 U.S. 279, 291 (1991). It is the Court’s considered conclusion

Plaintiff has failed to do so. In coming to that conclusion, the Court has given Plaintiff the benefit

of the doubt as to the many crucial facts in dispute, and finds Plaintiff’s case wanting. Conceding

for purposes of the analysis that Defendant said she had a power of attorney or its equivalent is not,

as noted, sufficient in and of itself to make Plaintiff’s case. While Defendant did not in fact have

such, the ultimate question here was her intent in making that statement and whether or not it

amounted to fraud. Maybe Defendant felt, given that her husband was in prison, he would consent

to the sale as a way of obtaining funds for her to live on, or that their relationship was such that such

consent was forthcoming. Having seen and heard all of the witnesses and having reviewed the

evidence, the Court has concluded that the required intent to deceive or action amounting to the kind

of fraud required for Plaintiff to prevail has not been sufficiently proven by Plaintiff who therefore

has not carried his burden of proof.

                                              Conclusion

        For the forgoing reasoning, the Court finds in favor of Defendant. An order is being

contemporaneously entered to that effect.
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Signed on May 18, 2012
                                                             /s/ Walter Shapero
                                                         Walter Shapero


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                                              United States Bankruptcy Judge




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